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                                AFFIDAVIT IN SUPPORT OF
                                 A CRIMINAL COMPLAINT

       I, Bryce Montoya, a Special Agent with the Federal Bureau of Investigation (“FBI”), being

duly sworn, depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I have been employed as a Special Agent with the FBI since May 2018. I am

currently assigned to the FBI Boston Child Exploitation and Human Trafficking Task Force, where

I investigate Violent Crimes Against Children (“VCAC”). While employed by the FBI, I have

investigated federal criminal violations related to, among other things, the online sexual

exploitation of children. As a Special Agent with the FBI, I have conducted numerous

investigations into the production, attempted production, distribution, and possession of child

pornography, to include executing federal search warrants and criminal complaints. Additionally,

prior to my assignment on the Child Exploitation and Human Trafficking Task Force, I was

assigned to the Boston Division Lakeville Resident Agency, where I investigated VCAC and

Human Trafficking investigations, and participated in fraud, narcotics, and white-collar

investigations. During my training at the FBI Academy in Quantico, Virginia, I received training

on a variety of criminal investigative matters relating to conducting these types of investigations.

       2.      I make this affidavit in support of a criminal complaint and arrest warrant charging

Patrick Baxter (“Baxter”), YOB 1980, of Melrose, Massachusetts, with possession and receipt of

child pornography, in violation of 18 U.S.C. § 2252A.

       3.      The statements in this Affidavit are based on my own involvement in the

investigation, and my observations; information provided by other FBI Special Agents and

analysts and other law enforcement officers; information obtained from other individuals; my

review of records; and my training and background as a Special Agent with the FBI. Where

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statements of others are set forth in this affidavit, they are set forth in sum and substance and are

not intended to be a verbatim record of those statements. This affidavit is intended to show merely

that there is probable cause to secure a criminal complaint and arrest warrant and does not set forth

all of my knowledge about this matter.

                                      PROBABLE CAUSE

                      Search of 20 Gooch Street, Melrose, Massachusetts

       4.      On October 29, 2021, Magistrate Judge Judith G. Dein, District of Massachusetts,

issued a search warrant for 20 Gooch Street, Melrose, Massachusetts (21-mj-5544-JGD), “the

Residence” for evidence, fruits, and instrumentalities of violations of 18 U.S.C. § 2252A. The

affidavit submitted in support of that warrant is attached hereto and incorporated by reference as

Sealed Exhibit A.

       5.      On the morning of November 2, 2021, FBI agents and task force officers executed

the search warrant at the Residence. An individual identified as Patrick Baxter was encountered

at the front door of the Residence. Baxter was read his Miranda warnings by agents and requested

to speak with an attorney prior to any questioning. Baxter’s cell phone was seized from his person,

and a supplemental search warrant was later obtained for that cell phone (22-mj-5009-JGD).

       6.      Eight items of evidence were seized from the Residence during the execution of the

search warrant on November 2, 2021. One item, a Samsung portable Solid State Drive (“SSD”),

serial number SSTFNJ0NA08826K, was located within the Residence on a coffee table. The SSD

was encrypted with a password and was unable to be searched at the Residence. Members of the

New England Regional Computer Forensics Laboratory (“NERCFL”) attempted to extract,

process, and review the content of the SSD, however due to encryption were unable to do so.

Members of the NERCFL requested assistance from an FBI Headquarters unit to decrypt the



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Samsung SSD. On or about October 17, 2022, members of the FBI Headquarters Unit were able

to recover a password to decrypt the SSD. The SSD was manufactured in Korea according to a

Google search I conducted.

       7.      An Apple MacBook with serial number FVFXT26EJK7G was also located within

the residence and seized.

       8.      Baxter’s wife, V.B. 1, and two minor children were also encountered in the

residence. V.B. was provided Miranda warnings and consented to speak with agents during the

execution of the search warrant. V.B. stated that the Apple MacBook computer is mostly used by

Baxter, however, V.B. also has a profile within the computer, which she uses to pay bills. V.B.

provided the passwords for her MacBook profile, as well as Baxter’s MacBook profile. V.B. stated

that Baxter’s email address is “pwbaxter@gmail.com.” V.B. stated that the home internet service

provider is Verizon Fios, and that the home internet is password protected.

                                        Search of Samsung SSD

       9.      Following recovery of the SSD password, the SSD was processed by NERCFL and

an analysis of the processed data was conducted. The SSD contained a backup of an Apple

computer. This backup created a copy of that computer to include, among other information:

images and videos, search history and account information. Within the backup of this computer,

the Apple ID username was listed as “pwbaxter@gmail.com.” Additionally, operating system

information related to the Apple computer identified the Apple computer’s serial number as

FVFXT26EJK7G, which matches the serial number of the Apple MacBook laptop seized from the

Residence on November 2, 2021.



1
 The identity of V.B. is known to the government, but is referred to herein by her initials for her
privacy.

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         10.    Located within the Safari Internet browser “bookmark” section, a URL was listed

as a “favorite” with the title “Freenet.” “Freenet” is also listed within the macOS installed

applications. Also located within the search history were multiple searches for “spy cameras” and

“keychain camera reviews.”

         11.    Within the SSD, approximately 427 video files of child pornography have been

observed on the device. Within the file path information where these video files of child

pornography are saved, the videos appear to have been sorted into sub-folders including, but not

limited to:

                  a. “PTHC 2”

                  b. “PTSC 3”

                  c. “spycams”

                  d. “freenet\downloads”

                  e. “CamWhores”

         12.    I have reviewed the videos located within the SSD, and have provided descriptions

of three of the videos: 4


2
    Through my training and experience, I know PTHC to stand for “Pre-Teen Hardcore.”
3
    Through my training and experience, I know PTSC to stand for “Pre-Teen Softcore.”
4
  I am aware that the “preferred practice” in the First Circuit is that a magistrate judge view images
that agents believe constitute child pornography by virtue of their lascivious exhibition of a child’s
genitals. United States v. Brunette, 256 F.3d 14, 17-19 (1st Cir. 2001) (affiant’s “legal conclusion
parroting the statutory definition […] absent any descriptive support and without an independent
review of the images” insufficient basis for determination of probable cause). Here, however, the
descriptions offered “convey to the magistrate more than [my] mere opinion that the images
constitute child pornography.” United States v. Burdulis, 753 F.3d 255, 261 (1st Cir. 2014)
(distinguishing Brunette). The children described herein appear to range in age from approximately
5-13 years old; in all events, younger than eighteen. Furthermore, the descriptions of the files here
are sufficiently specific as to the age and appearance of the alleged children as well as the nature
of the sexual conduct pictured in each file, such that the Court need not view the files to find that
they depict child pornography. See United States v. Syphers, 426 F.3d 461, 467 (1st Cir. 2005)
(“The best practice for an applicant seeking a warrant based on images of alleged child
pornography is for an applicant to append the images or provide a sufficiently specific description
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                 a.   “BDSM01.mp4”- This video is approximately 45 minutes and 32 seconds

                      long. This video depicts a prepubescent female child, who based upon body

                      development and facial features appears to be approximately 10-13 years old.

                      The child begins the video in a white dress, with her hands bound. The child

                      is then completely nude throughout the video. Another individual in a “grim

                      reaper” costume, whose face cannot be seen, is also present throughout the

                      video. Throughout the video, the child is bound in various positions, and is

                      whipped in the buttocks, has clothes pins placed on her gentiles and nipples,

                      and has the non-lit end of a lit candle inserted into her anus.

                 b. “Fuck_Pussy_11yrs_Girl.mp4”- This video is approximately 54 seconds

                      long. The video depicts a prepubescent female child, whose face cannot be

                      seen. Based upon body development and the size of the child, the child

                      appears to be approximately 9-11 years old. The child can be seen lying on

                      her back, and is nude from the belly button down. The child appears to be

                      wearing a shirt covering her breasts. An adult male, whose face cannot be

                      seen, is inserting his penis into the child’s vagina throughout the video.

                 c. “Polarlights-Vika-Madras (Chennai).avi”- This video is approximately 5

                      minutes and 12 seconds long. In this video, a prepubescent female child, who

                      based upon facial features, body development and size appears to be




of the images to enable the magistrate judge to determine independently whether they probably
depict real children.”) (emphasis added); see also United States v. LaFortune, 520 F.3d 50, 56 (1st
Cir. 2008) (similarly emphasizing Syphers court’s use of “or” in describing the Brunette “best
practice”). Where I have included such nonconclusory, sufficiently specific descriptions, this
Court need not view the imagery to find that it depicts child pornography. Nonetheless, the
described imagery is available for review at the Court’s request.

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                     approximately 5-9 years old. The child appears to be missing her two front

                     teeth. The child is fully nude in the video. The child can be seen performing

                     oral sex on a male whose face cannot be seen, and the adult male can be seen

                     inserting his penis into the child’s vagina.

       13.      As noted in paragraph 25 of Sealed Exhibit A (Gooch Street Search Warrant

Affidavit), on June 4, 2021, a computer with an IP address of 100.0.180.154, which has been traced

to Defendant’s residence, downloaded via Freenet a 9 minute and 55 second video depicting a 8

to 10 year old girl digitally penetrating her vagina and anus, as well as penetrating her vagina with

a tooth brush. This video was located by the FBI during a search of the SSD seized during the

search of Defendant’s residence. Similarly, as noted in paragraph 26 of Sealed Exhibit A (Gooch

Street Search Warrant Affidavit), on July 2, 2021, a computer with an IP address of 100.0.180.154,

which has been traced to Defendant’s residence, downloaded via Freenet a ten minute and 45

second video depicting a 12 to 15 year old girl digitally penetrating her vagina and anus with her

fingers. This video was located by the FBI during a search of the SSD seized during a search of

Defendant’s residence.

                                         CONCLUSION

       14.     Based on the foregoing, I submit there is probable cause to believe that:

               a.      On various dates, beginning no later than in or about June 4, 2021, Patrick

       Baxter knowingly received and attempted to receive child pornography, as defined in Title

       18, United States Code, Section 2256(8), that had been shipped and transported in and




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       affecting interstate and foreign commerce by computer, in violation of Title 18, United

       States Code, Sections 2252A(a)(2); and

               b.      On or about November 2, 2021, Patrick Baxter knowingly possessed

       material that contained one and more images of child pornography, as defined in Title 18,

       United States Code, Section 2256(8), that involved a prepubescent minor and a minor who

       had not attained 12 years of age, and that had been shipped and transported using any means

       and facility of interstate and foreign commerce and in and affecting interstate and foreign

       commerce by any means, including by computer, and that was produced using materials

       that had been mailed, and shipped and transported in and affecting interstate and foreign

       commerce by any means, including by computer, in violation of Title 18, United States

       Code, Sections 2252A(a)(5)(B) and (b)(2).

       15.     I therefore respectfully request that the Court issue a complaint charging Baxter

with receipt and possession of child pornography, in violation of 18 U.S.C. § 2252A, and a warrant

for Baxter’s arrest.




                                                 Special Agent Bryce Montoya
                                                 Federal Bureau of Investigation


Sworn before me by telephone in accordance with Fed. R. Crim. P. 4.1 this 7th day of

December, 2022.



                                             ___________________________________
                                             HONORABLE JUDITH GAIL DEIN
                                             UNITED STATES MAGISTRATE JUDGE




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